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                    IN THE UNITED STATES BANKRUPTCY COURT
                       WESTERN DISTRICT OF PENNSYLVANIA
 IN RE: Jeffrey Todd Grace and                           :
 Amy Louise Grace,
                                                         :       Case No.     15-24009-GLT
 Debtor #1 and Debtor #2,                                :        Chapter          13
                                                         :
                  Jeffrey Todd Grace                     :
                  Amy Louise Grace,
                        Movant(s),                       :
                                                         :
                            - vs. -                      :
 Aas Debt Recovery Inc ACE Cash Express Afni             :
 American InfoSource LP as agent for
 DIRECTV, LLC American InfoSource LP as agent for
 Verizon American Profit Recovery Berks Credit &
 Collections Bishop Lawrence T Perseco
 Bureaus Investment Group Portfolio No 15 LLC
 c/o Recovery Management Systems Corp Caliber
 Home Loans, Inc. ISAOA/ATIMA. Columbia Gas of
 PA Comcast Crd Prt Asso Direct TV
 DLJ Mortgage Capital and Serviced by
 Select Portfolio Servicing, Inc. Drive Fin/Santander
 Consumer USA Enhanced Recovery Corp
 EOS CCA Excela health Medical Group
 First Commonwealth Bank
 c/o AAS Debt Recovery Inc. First National Bank of
 PA c/o AAS Debt Recovery Inc. First Premier Bank
 Geico Casualty Company Internal Revenue Service
 Jefferson Capital Systems, LLC JPMorgan Chase
 Bank, N.A. National Bankruptcy Department
 Kvet Animal Care LSF8 Master Participation Trust
 Caliber Home Loans, Inc. Peoples Natural Gas
 Rcvl Per Mng Recmgmt Srvc Recovery Management
 Systems Corporation Santander Consumer USA, Inc.
 Sentry Credit, Inc. The Bureaus Inc. Trident Asset
 Management
 U.S. Bank Trust National Association as
 Serviced by Select Portfolio Servicing, Verizon
 West Penn Power Westmoreland Hospital,
                                                         :
             and Ronda J. Winnecour, Trustee,            :
                             Respondents.                :
                                                         X
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                            NOTICE OF PROPOSED MODIFICATION TO
                             CONFIRMED PLAN DATED August 26, 2020

 1. Pursuant to 11 U.S.C. § 1329(a), the Debtor has filed an Amended Chapter 13 Plan dated June 7, 2021,
 which is annexed hereto at Exhibit "A" (the "Amended Chapter 13 Plan"). Pursuant to the Amended
 Chapter 13 Plan, the Debtor seeks to modify the confirmed Plan in the following particulars:

 Increase the payment to $1653

 Pay debtor’s attorney an additional $1,500

 2. The proposed modification to the confirmed Plan will impact the treatment of the claims of the
 following creditors, and in the following particulars:
 The debtor's attorney shall receive at least an additional $1,500 for the amended chapter 13 plan.



 3. Debtor submits that the reason(s) for the modification is (are) as follows:
 The debtors need to cure a plan default.

 4. The Debtor submits that the requested modification is being proposed in good faith, and not for any
 means prohibited by applicable law. The Debtor further submits that the proposed modification complies
 with 11 U.S.C. 1322, 1325and, except as set forth above, there are no other modifications sought by way
 of the Amended Chapter 13 Plan.

 WHEREFORE, the Debtor respectfully requests that the Court enter an Order confirming the Amended
 Chapter 13 Plan, and for such other relief the Court deems equitable and just.



 RESPECTFULLY SUBMITTED, this 7th day of June, 2021 .


                                                                        /s/ David A. Colecchia
                                                                        Name: David A. Colecchia 71830
                                                                        Attorney I.D.: David A. Colecchia 71830
                                                                        Address: David A. Colecchia and Associates
                                                                                   324 South Maple Ave.
                                                                                   Greensburg, PA 15601-3219
                                                                        Phone # : (724) 837-2320
                                                                        Facsimile#: (724) 837-0602
                                                                        E-Mail: colecchia542@comcast.net

                                                                        Attorney for the Debtor
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 EXHIBIT A



                           Fill in this information to identify your case
 Debtor 1                  Jeffrey Todd Grace
                           First Name       Middle Name                 Last Name
 Debtor 2            Amy Louise Grace
 (Spouse, if filing) First Name      Middle Name                        Last Name
 United States Bankruptcy Court for the:                      WESTERN DISTRICT OF                                   Check if this is an amended plan, and
                                                                PENNSYLVANIA

                                                                                                                    list below the sections of the plan that
 Case number:              15-24009                                                                                 have been changed.
 (If known)                                                                                                         2.1, 4.3


 Western District of Pennsylvania
 Chapter 13 Plan Dated: June 7, 2021

 Part 1:       Notices

 To Debtor(s):           This form sets out options that may be appropriate in some cases, but the presence of an option on the
                         form does not indicate that the option is appropriate in your circumstances. Plans that do not comply
                         with local rules and judicial rulings may not be confirmable. The terms of this plan control unless
                         otherwise ordered by the court.

                         In the following notice to creditors, you must check each box that applies

 To Creditors:           YOUR RIGHTS MAY BE AFFECTED BY THIS PLAN. YOUR CLAIM MAY BE REDUCED,
                         MODIFIED, OR ELIMINATED.

                         You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case.
                         If you do not have an attorney, you may wish to consult one.

                         IF YOU OPPOSE THIS PLAN’S TREATMENT OF YOUR CLAIM OR ANY PROVISION OF THIS
                         PLAN, YOU OR YOUR ATTORNEY MUST FILE AN OBJECTION TO CONFIRMATION AT LEAST
                         SEVEN (7) DAYS BEFORE THE DATE SET FOR THE CONFIRMATION HEARING, UNLESS
                         OTHERWISE ORDERED BY THE COURT. THE COURT MAY CONFIRM THIS PLAN WITHOUT
                         FURTHER NOTICE IF NO OBJECTION TO CONFIRMATION IS FILED. SEE BANKRUPTCY
                         RULE 3015. IN ADDITION, YOU MAY NEED TO FILE A TIMELY PROOF OF CLAIM TO BE PAID
                         UNDER ANY PLAN.

                         The following matters may be of particular importance. Debtor(s) must check one box on each line to state
                         whether the plan includes each of the following items. If the “Included” box is unchecked or both boxes
                         are checked on each line, the provision will be ineffective if set out later in the plan.

 1.1          A limit on the amount of any claim or arrearages set out in Part 3, which may result             Included                   Not Included
              in a partial payment or no payment to the secured creditor (a separate action will be
              required to effectuate
              such limit)
 1.2          Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,              Included                   Not Included
              set out in Section 3.4 (a separate action will be required to effectuate such limit)
 1.3          Nonstandard provisions, set out in Part 9                                                        Included                   Not Included


 Part 2:       Plan Payments and Length of Plan
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 2.1        Debtor(s) will make regular payments to the trustee:

            Total amount of $2120 per month for a remaining plan term of 84 months shall be paid to the trustee from future
            earnings as follows:
        Payments: By Income Attachment                  Directly by Debtor                                      By Automated Bank Transfer
        D#1          $                                  $                                                       $
        D#2          $ 2120                             $                                                       $
        (Income attachments must be used by Debtors having attachable income)                                   (SSA direct deposit recipients only)

 2.2 Additional payments.

                     Unpaid Filing Fees. The balance of $          shall be fully paid by the Trustee to the Clerk of the Bankruptcy court form the first
                     available funds.


       Check one.

                     None. If “None” is checked, the rest of § 2.2 need not be completed or reproduced.

 2.3        The total amount to be paid into the plan (plan base) shall be computed by the trustee based on the total amount
            of plan payments plus any additional sources of plan funding described above.

 Part 3:     Treatment of Secured Claims

 3.1        Maintenance of payments and cure of default, if any, on Long-Term Continuing Debts.

            Check one.

                    None. If “None” is checked, the rest of Section 3.1 need not be completed or reproduced.
                    The debtor(s) will maintain the current contractual installment payments on the secured claims listed below, with any changes
                    required by the applicable contract and noticed in conformity with any applicable rules. These payments will be disbursed by the
                    trustee. Any existing arrearage on a listed claim will be paid in full through disbursements by the trustee, without interest. If relief
                    from the automatic stay is ordered as to any item of collateral listed in this paragraph, then, unless otherwise ordered by the court,
                    all payments under this paragraph as to that collateral will cease, and all secured claims based on that collateral will no longer be
                    treated by the plan.

 Name of Creditor                              Collateral                           Current installment            Amount of arrearage Start date
                                                                                    payment                        (if any)            (MM/YYYY)
                                                                                    (including escrow)
                                               Location: 16 Barclay
                                               Street, Greensburg PA
  Select Portfolio Servicing, LLC              15601                                                 $994.96                      $0.00
 Insert additional claims as needed.

 3.2        Request for valuation of security, payment of fully secured claims, and modification of undersecured claims.

            Check one.

                     None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.

 3.3        Secured claims excluded from 11 U.S.C. § 506.

            Check one.
                  None. If “None” is checked, the rest of Section 3.3 need not be completed or reproduced.
                  The claims listed below were either:
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                  (1) incurred within 910 days before the petition date and secured by a purchase money security interest in a motor vehicle acquired
                      for the personal use of the debtor(s), or

                  (2) incurred within one 1 year of the petition date and secured by a purchase money security interest in any other thing of value.

                  These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed by the
                  trustee.

 Name of Creditor            Collateral                                    Amount of claim                 Interest rate     Monthly payment to
                                                                                                                             creditor

 Subaru Motors
 Finance                     2016 Subaru Crosstrek                         $25,200.98                            6.74%                            $0.00

 Insert additional claims as needed.

 3.4       Lien avoidance.

 Check one.
                     None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced. The remainder of this section will be
                     effective only if the applicable box in Part 1 of this plan is checked

 3.5       Surrender of collateral.

           Check one.

                  None. If “None” is checked, the rest of Section 3.5 need not be completed or reproduced.
                  The debtor(s) elect to surrender to each creditor listed below the collateral that secures the creditor’s claim. The debtor(s) request
                  that upon confirmation of this plan the stay under 11 U.S.C. § 362(a) be terminated as to the collateral only and that the stay under
                  11 U.S.C. § 1301 be terminated in all respects. Any allowed unsecured claim resulting from the disposition of the collateral will be
                  treated in Part 5.

 Name of Creditor                                                          Collateral
 Drive Financial/Santander Consumer USA                                    2013 Subaru Legacy 61,000 miles
                                                                           2010 Suzuki XL7 blown engine
 Drive Financial/Santander Consumer USA                                    130,000 miles

 Insert additional claims as needed.


 3.6       Secured tax claims.

 Name of taxing authority        Total amount of claim    Type of tax                   Interest Rate* Identifying number(s) if         Tax periods
                                                                                                       collateral is real estate


 -NONE-

 Insert additional claims as needed.

 * The secured tax claims of the Internal Revenue Service, Commonwealth of Pennsylvania and any other tax claimants shall bear
 interest at
 the statutory rate in effect as of the date of confirmation.

 Part 4:   Treatment of Fees and Priority Claims

 4.1       General

           Trustee’s fees and all allowed priority claims, including Domestic Support Obligations other than those treated in
           Section 4.5, will be paid in full without postpetition interest.

 4.2       Trustee’s fees
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           Trustee’s fees are governed by statute and may change during the course of the case. The trustee shall compute the
           trustee’s percentage fees and publish the prevailing rate on the court’s website. It is incumbent upon the debtor(s)’
           attorney or debtor (if pro se) to monitor any change in the percentage fees to insure that the plan is adequately funded.

 4.3       Attorney's fees.

           Attorney’s fees are payable to David A. Colecchia 71830. In addition to a retainer of $90.00 (of which
           $ 0.00 was a payment to reimburse costs advanced and/or a no-look costs deposit) already paid by or on behalf of
           the debtor, the amount of $12,000.00 is to be paid at the rate of $244.19 per month. Including any retainer paid, a
           total of $ 11,590.00 in fees and costs reimbursement has been approved by the court to date, based on a
           combination of the no-look fee and costs deposit and previously approved application(s) for compensation above the
           no-look fee. An additional $ 1,500.00 will be sought through a fee application to be filed and approved before
           any additional amount will be paid through the plan, and this plan contains sufficient funding to pay that additional
           amount, without diminishing the amounts required to be paid under this plan to holders of allowed unsecured claims.

               Check here if a no-look fee in the amount provided for in Local Bankruptcy Rule 9020-7(c) is being requested for
           services rendered to the debtor(s) through participation in the court’s Loss Mitigation Program (do not include the no-
           look fee in the total amount of compensation requested, above).

 4.4       Priority claims not treated elsewhere in Part 4.

                      None. If “None” is checked, the rest of Section 4.4 need not be completed or reproduced.
 Insert additional claims as needed

 4.5       Priority Domestic Support Obligations not assigned or owed to a governmental unit.


           If the debtor(s) is/are currently paying Domestic Support Obligations through existing state court order(s) and leaves
           this section blank, the
           debtor(s) expressly agrees to continue paying and remain current on all Domestic Support Obligations through existing
           state court orders.

               Check here if this payment is for prepetition arrearages only.

 Name of Creditor                         Description                                          Claim                            Monthly payment or
 (specify the actual payee, e.g. PA SCDU)                                                                                       pro rata
 None

 Insert additional claims as needed.

 4.6       Domestic Support Obligations assigned or owed to a governmental unit and paid less than full amount.
           Check one.
                   None. If “None” is checked, the rest of § 4.6 need not be completed or reproduced.



 4.7       Priority unsecured tax claims paid in full.

 Name of taxing authority                Total amount of claim                  Type of Tax                       Interest rate        Tax Periods
                                                                                                                  (0% If blank)


 IRS                                                          $8,777.00         Federal Income Taxes              0.00%

 Insert additional claims as needed.


 Part 5:   Treatment of Nonpriority Unsecured Claims

 5.1       Nonpriority unsecured claims not separately classified.
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           Debtor(s) ESTIMATE(S) that a total of $0.00 will be available for distribution to nonpriority unsecured creditors.

           Debtor(s) ACKNOWLEDGE(S) that a MINIMUM of $0.00 shall be paid to nonpriority unsecured creditors to comply
           with the liquidation alternative test for confirmation set forth in 11 U.S.C. § 1325(a)(4).

           The total pool of funds estimated above is NOT the MAXIMUM amount payable to this class of creditors. Instead, the
           actual pool of funds available for payment to these creditors under the plan base will be determined only after audit of
           the plan at time of completion. The estimated percentage of payment to general unsecured creditors is 0.00%. The
           percentage of payment may change, based upon the total amount of allowed claims. Late-filed claims will not be paid
           unless all timely filed claims have been paid in full. Thereafter, all late-filed claims will be paid pro-rata unless an
           objection has been filed within thirty (30) days of filing the claim. Creditors not specifically identified elsewhere in this
           plan are included in this class.

 5.2       Maintenance of payments and cure of any default on nonpriority unsecured claims.

 Check one.

                    None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.

 5.3       Postpetition utility monthly payments.

 The provisions of Section 5.3 are available only if the utility provider has agreed to this treatment. These payments
 comprise a single monthly combined payment for postpetition utility services, any postpetition delinquencies, and unpaid security
 deposits. The claim payment will not change for the life of the plan. Should the utility obtain an order authorizing a payment
 change, the debtor(s) will be required to file an amended plan. These payments may not resolve all of the postpetition claims of
 the utility. The utility may require additional funds from the debtor(s) after discharge.

 Name of Creditor                               Monthly payment                                          Postpetition account number
 -NONE-

 Insert additional claims as needed.

 5.4       Other separately classified nonpriority unsecured claims.

           Check one.

                    None. If “None” is checked, the rest of § 5.4 need not be completed or reproduced.

 Part 6:   Executory Contracts and Unexpired Leases

 6.1       The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other
           executory contracts and unexpired leases are rejected.

           Check one.

                    None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.



 Part 7:   Vesting of Property of the Estate

 7.1     Property of the estate shall not re-vest in the debtor(s) until the debtor(s) have completed all payments under the
 confirmed plan.

 Part 8:   General Principles Applicable to All Chapter 13 Plans

 8.1       This is the voluntary chapter 13 reorganization plan of the debtor(s). The debtor(s) understand and agree(s) that the
           chapter 13 plan may be extended as necessary by the trustee (up to any period permitted by applicable law) to insure
           that the goals of the plan have been achieved. Notwithstanding any statement by the trustee’s office concerning
           amounts needed to fund a plan, the adequacy of plan funding in order to meet the plan goals remains the sole
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           responsibility of debtor(s) and debtor(s)’ attorney. It shall be the responsibility of the debtor(s) and debtor(s)’ attorney
           to monitor the plan in order to ensure that the plan remains adequately funded during its entire term.

 8.2       Prior to the meeting of creditors, the debtor(s) shall comply with the tax return filing requirements of 11 U.S.C § 1308
           and provide the trustee with documentation of such compliance by the time of the meeting. Debtor(s)’ attorney or
           debtor(s) (if pro se) shall provide the trustee with the information needed for the trustee to comply with the
           requirements of 11 U.S.C. § 1302 as to the notification to be given to Domestic Support Obligation creditors, and
           debtor(s)’ attorney or debtor(s) (if pro se) shall provide the trustee with the calculations relied upon to determine the
           debtor(s)’ current monthly income and disposable income.

 8.3       The debtor(s) shall have a duty to inform the trustee of any assets acquired while the chapter 13 case is pending, such
           as insurance proceeds, recovery on any lawsuit or claims for personal injury or property damage, lottery winnings, or
           inheritances. The debtor(s) must obtain prior court approval before entering into any postpetition financing or
           borrowing of any kind, and before selling any assets.

 8.4        Unless otherwise stated in this plan or permitted by a court order, all claims or debts provided for by the plan to
           receive a distribution shall be paid by and through the trustee.

 8.5       Percentage fees to the trustee are paid on receipts of plan payments at the rate fixed by the United States Trustee. The
           trustee has the discretion to adjust, interpret, and implement the distribution schedule to carry out the plan, provided
           that, to the extent the trustee seeks a material modification of this plan or its contemplated distribution schedule, the
           trustee must seek and obtain prior authorization of the court. The trustee shall follow this standard plan form sequence
           unless otherwise ordered by the court:

           Level One:           Unpaid filing fees.
           Level Two:           Secured claims and lease payments entitled to 11 U.S.C. § 1326(a)(1)(C) pre-confirmation
                                adequate protection payments.
           Level Three:         Monthly ongoing mortgage payments, ongoing vehicle and lease payments, installments on
                                professional fees, and postpetition utility claims.
           Level Four:          Priority Domestic Support Obligations.
           Level Five:          Mortgage arrears, secured taxes, rental arrears, vehicle payment arrears.
           Level Six:           All remaining secured, priority and specially classified claims, and miscellaneous secured arrears.
           Level Seven:         Allowed nonpriority unsecured claims.
           Level Eight:         Untimely filed nonpriority unsecured claims for which an objection has not been filed.

 8.6       As a condition to the debtor(s)’ eligibility to receive a discharge upon successful completion of the plan, debtor(s)’
           attorney or debtor(s) (if pro se) shall file Local Bankruptcy Form 24 (Debtor’s Certification of Discharge Eligibility)
           with the court within forty-five (45) days after making the final plan payment.

 8.7        The provisions for payment to secured, priority, and specially classified unsecured creditors in this plan shall constitute
           claims in accordance with Bankruptcy Rule 3004. Proofs of claim by the trustee will not be required. In the absence of
           a contrary timely filed proof of claim, the amounts stated in the plan for each claim are controlling. The clerk shall be
           entitled to rely on the accuracy of the information contained in this plan with regard to each claim. Unless otherwise
           ordered by the court, if a secured, priority, or specially classified creditor timely files its own claim, then the creditor’s
           claim shall govern, provided the debtor(s) and debtor(s)’ attorney have been given notice and an opportunity to object.
           The trustee is authorized, without prior notice, to pay claims exceeding the amount provided in the plan by not more
           than $250.

 8.8       Any creditor whose secured claim is not modified by this plan and subsequent order of court shall retain its lien.

 8.9       Any creditor whose secured claim is modified or whose lien is reduced by the plan shall retain its lien until the
           underlying debt is discharged under 11 U.S.C. § 1328 or until it has been paid the full amount to which it is entitled
           under applicable nonbankruptcy law, whichever occurs earlier. Upon payment in accordance with these terms and entry
           of a discharge order, the modified lien will terminate and be released. The creditor shall promptly cause all mortgages,
           liens, and security interests encumbering the collateral to be satisfied, discharged, and released.

 8.10      The provisions of Sections 8.8 and 8.9 will also apply to allowed secured, priority, and specially classified unsecured
           claims filed after the bar date. LATE-FILED CLAIMS NOT PROPERLY SERVED ON THE TRUSTEE AND THE
           DEBTOR(S)’ ATTORNEY OR DEBTOR(S) (IF PRO SE) WILL NOT BE PAID. The responsibility for reviewing
           the claims and objecting where appropriate is placed upon the debtor(s).

 Part 9:   Nonstandard Plan Provisions
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 9.1        Check "None" or List Nonstandard Plan Provisions
                   None. If “None” is checked, the rest of Part 9 need not be completed or reproduced.

 Part 10: Signatures:

 10.1       Signatures of Debtor(s) and Debtor(s)’ Attorney

 If the debtor(s) do not have an attorney, the debtor(s) must sign below; otherwise the debtor(s)’ signatures are optional. The
 attorney for the debtor(s), if any, must sign below.

 By signing this plan the undersigned, as debtor(s)’ attorney or the debtor(s) (if pro se), certify(ies) that I/we have reviewed any
 prior confirmed plan(s),order(s) confirming prior plan(s), proofs of claim filed with the court by creditors, and any orders of court
 affecting the amount(s) or treatment of any creditor claims, and except as modified herein, this proposed plan conforms to and is
 consistent with all such prior plans, orders, and claims. False certifications shall subject the signatories to sanctions under
 Bankruptcy Rule 9011.

 By filing this document, debtor(s)’ attorney or the debtor(s) (if pro se), also certify(ies) that the wording and order of the
 provisions in this chapter 13 plan are identical to those contained in the standard chapter 13 plan form adopted for use by the
 United States Bankruptcy Court for the Western District of Pennsylvania, other than any nonstandard provisions included in
 Part 9. It is further acknowledged that any deviation from the standard plan form shall not become operative unless it is
 specifically identified as “nonstandard” terms and are approved by the court in a separate order.

 X      /s/                                                               X      /s/
        Jeffrey Todd Grace                                                       Amy Louise Grace
        Signature of Debtor 1                                                    Signature of Debtor 2

        Executed on     June 7, 2021                                             Executed on    June 7, 2021

 X      /s/ David A. Colecchia                                            Date     June 7, 2021
        David A. Colecchia 71830
        Signature of debtor(s)' attorney
